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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS

 IN RE: SYNGENTA AG MIR162                             MDL No. 2591
 CORN LITIGATION
                                                       Case No. 14-md-02591-JWL-JPO
 This document relates to:

 Kenneth P. Kellogg, et al. v. Watts
 Guerra LLP, et al.,
 Case No. 18-cv-2408-JWL-JPO



   DEFENDANTS’ MOTION FOR AN EXTENSION OF THE DEADLINE TO
              ANSWER THE AMENDED COMPLAINT


TO:    Plaintiffs above-named at their attorney of record Douglas J. Nill, Esq., Douglas J.
       Nill, PLLC d/b/a Farmlaw, 2050 Canadian Pacific Plaza, 120 South Sixth Street,
       Minneapolis, MN 55402:

       COMES NOW Defendants Johnson Law Group, Law Office of Michael Miller,

Mauro, Archer & Associates, LLC, VanDerGinst Law, PC, & Wagner Reese, LLP, by and

through the undersigned counsel, and hereby move, on behalf of all Defendants, for a 10-

day extension of the deadline for all Defendants to file Answers to Plaintiffs’ Amended

Complaint.

       Before filing this Motion, multiple attorneys for Defendants reached out to

Plaintiffs’ counsel to request an extension. Plaintiffs have not responded. Accordingly,

Defendants are asking the Court to extend the deadline to answer from August 27 to

September 6, 2019.

       The Amended Complaint is 158 pages and contains 464 paragraphs. As the Court

knows, Defendants moved to dismiss the Amended Complaint in its entirety. Extensive
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motion practice and multiple orders from the Court followed. On August 15, 2019, two

days after the Court entered its most recent order on Defendants’ motion to dismiss, the

Court set August 27 as the deadline to answer or otherwise respond to Plaintiffs’ Amended

Complaint.

        Although 12 days may be sufficient to answer a complaint in a typical case, this is

no typical case. The sheer length of Plaintiffs’ Amended Complaint makes answering it in

12 days extraordinarily difficult. Other factors further complicate Defendants’ response.

Many claims have been dismissed, so Defendants need to sort out which allegations remain

relevant and respond accordingly. In addition, Plaintiffs indicate, in their August 19, 2019

Status Report to the Tenth Circuit Court of Appeals, that a motion for reconsideration of

the dismissal of most of their claims (ECF No. 213) under Rules 59(e) and 60 is

“forthcoming[.]”

        With all of that in mind, Defendants are asking for a relatively modest 10-day

extension to file Answers. A 10-day extension will not unfairly prejudice Plaintiffs in any

way.

        WHEREFORE Defendants respectfully request a 10-day extension of the deadline

to file Answers to Plaintiffs’ Amended Complaint.




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Dated: August 23, 2019             Respectfully submitted,


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                            CERTIFICATE OF SERVICE

       I certify that on August 23, 2019, I caused the foregoing Motion for an Extension
of the Deadline to Answer the Amended Complaint to be electronically filed with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing to all
counsel of record.

                                                      /s/ Arthur G. Boylan
                                                      Arthur G. Boylan


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